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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

  WILLIAM ARMSTRONG, GLORIA ATKINS,
  JAMES BROOKS, CLOVER COFFIE, DEBRA
  JONES, SHANTE LEGRAND, DONALD                     Case No. 19-cv-80730-RS
  MCLEAN, ROBERT REIMBOLD, ELIJAH
  SMITH, and LINDA WELCHER, each individually       CLASS ACTION
  and on behalf of all others similarly situated;
                                                    Hon. Rodney Smith
           Plaintiffs,

  vs.

  UNITED STATES SUGAR CORPORATION,
  a Delaware corporation; SUGAR CANE
  GROWERS COOPERATIVE OF FLORIDA,
  a Florida not for profit corporation; FLORIDA
  CRYSTALS CORPORATION, a Delaware
  corporation; OKEELANTA CORPORATION,
  a Delaware corporation; OSCEOLA FARMS CO.,
  a Florida corporation; SUGARLAND HARVESTING
  CO., a Florida not for profit corporation;
  TRUCANE SUGAR CORPORATION,
  a Florida corporation; INDEPENDENT
  HARVESTING, INC., a Florida corporation; and
  J & J AG PRODUCTS, INC., a Florida corporation;

        Defendants
  ___________________________________________________

        DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ THIRD AMENDED CLASS
           ACTION COMPLAINT AND SUPPORTING MEMORANDUM OF LAW
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                                           INTRODUCTION
          Plaintiffs’ Third Amended Complaint (“TAC”) does not cure the glaring deficiencies
  previously found by the Court and, in fact, creates new deficiencies demonstrating how far
  Plaintiffs’ allegations depart from reality. The Court dismissed Plaintiffs’ First Amended
  Complaint (“FAC”) for lack of Article III standing because Plaintiffs’ allegations against the entire
  sugar industry based on conduct across all of an approximately 675-square mile area were far too
  generic to plausibly trace their alleged injuries to each or any Defendant. Coffie v. Florida Crystals
  Corp., 460 F. Supp. 3d 1297, 1304-06 (S.D. Fla. May 8, 2020). The Court gave Plaintiffs an
  opportunity to amend to cure these deficiencies, subject to Rule 11. Id. at *4, 11. Plaintiffs
  responded by filing a Second Amended Complaint (“SAC”), which relied on preliminary air
  modeling without any actual air quality data. After Defendants moved to dismiss the SAC,
  Plaintiffs acknowledged that their modeling overstated results by at least a factor of 60. Plaintiffs
  sought and were granted leave to file a TAC “correcting” the “error.” Plaintiffs’ revised air
  modeling does not save their claims. Even after four attempts, the TAC still does not allege facts
  sufficient to establish Article III standing and fails to state plausible claims.
          Plaintiffs still lack Article III standing. The TAC alleges that visible ash falls on Plaintiffs’
  properties and vehicles, but—contrary to the direction issued by the Court—the TAC makes no
  attempt to trace visible ash to each or any Defendant. Plaintiffs also claim that they were injured
  by smaller, invisible particulate matter and other constituents that allegedly cause respiratory
  issues and increase the risk of developing lung cancer. The TAC relies on preliminary air models
  that first attempt to project concentrations of constituents at hypothetical “receptors” and then
  attempt to trace those projected results to each Defendant. The results are demonstrably
  implausible. The models and the TAC entirely ignore actual, publicly-available air monitoring
  data from within the putative class area published by the Florida Department of Environmental
  Protection (“FDEP”). The actual data are well below both Plaintiffs’ revised hypothetical
  projections and the National Ambient Air Quality Standards (“NAAQS”) that Plaintiffs invoke.
  The Court should reject Plaintiffs’ attempt to rely on hypothetical projections over actual air
  quality data. Moreover, the TAC fails to tie the models’ projections at hypothetical receptors in
  the putative class area to particular Plaintiffs or their properties. Even at the pleading stage,
  Plaintiffs’ preliminary air models do not plausibly establish Article III standing.
          These same pleading defects mean that, apart from standing, Plaintiffs fail to state plausible



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  claims against any Defendant, much less all of them. Plaintiffs rely on preliminary air modeling
  that the Court need not accept because it is flatly contradicted by actual, publicly-available data
  confirming that the air quality in the putative class area meets air quality standards. Plaintiffs’
  claims also fail because they do not plausibly trace their alleged injuries to each Defendant.
          Plaintiffs’ Section 1983/takings, battery, and medical monitoring claims also fail for other
  reasons. Plaintiffs fail to state a takings claim under Section 1983 because performing sugarcane
  burns under permits issued by the Florida Forest Service does not turn private parties into “state
  actors,” and even if it did, Plaintiffs do not otherwise allege the elements of a takings claim.
  Plaintiffs also cannot use a takings claim to get around the Court’s holding that their claims for
  injunctive relief are barred by the primary jurisdiction doctrine (Coffie, 460 F. Supp. 3d at 1308-
  11), nor is injunctive relief a permissible remedy for a Fifth Amendment takings claim.
          Plaintiffs fail to state a claim for battery. Plaintiffs’ battery claim simply recasts and
  relabels the nuisance and trespass claims that the Court already dismissed under Florida’s Right to
  Farm Act (“RTFA”), Fla. Stat. § 823.14. Plaintiffs also cannot allege that Defendants acted with
  the requisite intent to harm Plaintiffs.
          Finally, Plaintiffs again fail to state a claim for medical monitoring. Plaintiffs’ preliminary
  models of hypothetical air quality impacts are not plausible and thus cannot support Plaintiffs’
  allegations about exposures greater than normal background levels.
                                             BACKGROUND
          Plaintiffs again challenge the practice of pre-harvest sugarcane burning, which is a safe,
  century-old method of harvesting that is strictly regulated and performed under permits issued
  daily by the Forest Service. Fla. Stat. § 590.125; Fla. Admin. Code § 5I.2.006. As the Court
  acknowledged, “preharvest burning is an acceptable agricultural practice”—even if Plaintiffs
  might prefer another method. Coffie, 460 F. Supp. 3d at 1307.
          The TAC relies on preliminary air modeling overseen by an environmental engineer,
  Randy Horsak (TAC at 1; ECF 143 Ex. A), in an attempt to address Article III standing and state
  plausible claims against each Defendant. Plaintiffs’ preliminary modeling, however, remains
  divorced from real world data and does not even address visible ash.
  I.      Plaintiffs’ Modeling is Inconsistent with Real World Data.
          Despite their efforts to fix “input errors” in the preliminary air modeling that formed the
  basis for the SAC, the TAC continues to hinge on demonstrably flawed modeling. Although



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  Plaintiffs have now reduced the values spit out by their model by a factor of 60, Plaintiffs’
  modeling remains flatly inconsistent with real world air quality data.1
         Plaintiffs’ preliminary air models purport to project concentrations of constituents from
  sugarcane burning at 3,531 hypothetical “receptors” located in and around the putative class area
  from 2014 to 2018 and then purport to trace those projected results to each Defendant. TAC ¶¶ 12-
  15, 147-62 & Ex. B. Plaintiffs’ preliminary models are a black box. While Plaintiffs base their
  models on the location of permitted burns in Forest Service records, the TAC provides no details
  on any of the critically important inputs and assumptions that Plaintiffs used in their models or
  their methodology in making those decisions. The importance of these inputs and assumptions is
  readily illustrated by Plaintiffs’ admission to one significant mistake already that remarkably led
  to all of their results being off by a factor of 60. See generally ECF 143.
         Plaintiffs allege that the preliminary models “demonstrate” to a “high degree of certainty”
  that each Defendant’s burns emitted particulate matter and other constituents that reached “every
  nook and cranny” of the putative class area and that burning results in cumulative exceedances of
  NAAQS. TAC ¶¶ 12, 158, 162. The TAC focuses on 24-hour PM2.5 concentrations and compares
  the highest daily projected concentrations generated by Plaintiffs’ preliminary models to the
  NAAQS PM2.5 24-hour standard of 35 μg/m3. Id. ¶¶ 12, 153-55. However, the NAAQS PM2.5 24-
  hour standard is an average of daily measurements—not a reading of the highest single day. 40
  C.F.R. Part 50, App. N, §§ 1.0(c), 4.2.2 The TAC does not include any attempt to run those
  calculations and therefore does not allege any actual exceedances of the 24-hour PM2.5 standard in
  the putative class area. Nonetheless, based on their revised modeling output, Plaintiffs continue to
  allege that the hypothetical receptors experienced “spectacularly high” 24-hour PM2.5
  concentrations—up to 66, 163, 200, and 117 μg/m3 for a single day. TAC ¶¶ 18, 155. Plaintiffs


  1
    The Court may disregard allegations that are in conflict with facts upon which the Court may take
  judicial notice, including U.S. EPA’s and FDEP’s regulatory determinations, which are based on
  actual field data these agencies have collected and demonstrate that air quality in the putative class
  area complies with all applicable NAAQS. See Campos v. I.N.S., 32 F. Supp. 2d 1337, 1343 (S.D.
  Fla. 1998) (the court “need not accept factual claims” “which run counter to facts of which the
  court can take judicial notice.”); Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1279-80 (11th Cir.
  1999) (court may take judicial notice of public records when considering a motion to dismiss
  without converting to motion for summary judgment).
  2
    Specifically, the 24-hour PM2.5 standard is a rolling average that must be calculated over 365
  days of daily readings, using the 98th percentile value during a year, averaged over 3 consecutive
  years. Id.


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  further allege that over the course of five years, 16.3% of the hypothetical receptors experienced
  at least one daily “exceedance” above 35 μg/m3. Id. ¶¶ 14, 157 & Fig. 37.3
         Plaintiffs’ projections are flatly contradicted by—and do not even attempt to take into
  account—actual, publicly available air quality data. FDEP oversees an extensive network of air
  monitoring stations located throughout the State and publishes the data on its website. FDEP and
  U.S. EPA use this data to assess compliance with the NAAQS and other requirements. See, e.g.,
  Murray Energy Corp. v. EPA, 936 F.3d 597, 604-05 (D.C. Cir. 2019) (explaining that NAAQS are
  designed to protect public health and welfare, including against adverse health effects). Based on
  actual air quality data collected throughout the State, FDEP has found that “air quality across the
  State … is consistently ranked among the best in the nation with respect to … fine particulate
  matter” and that “all areas in the State meet the air quality standards for these pollutants and levels
  continue to decrease as they have for many years.” Ex. A at 1 (FDEP, Florida’s Ozone and
  Particulate Matter Air Quality Trends) (emphasis added).
         One of the air monitoring stations overseen by FDEP is located in Belle Glade—right in
  the middle of the putative class area. Actual readings from the Belle Glade monitoring station show
  that even the highest single-day 24-hour PM2.5 concentrations from 2014-18 were all well below
  35 μg/m3, with the highest single-day reading at 30.1 μg/m3. Ex. B (FDEP, Air Quality Monitoring,
  Highest Particle Pollution 2.5 Readings by Year, AQS # L099-0008, Belle Glade). Moreover, the
  actual data includes not just sugarcane burning, but all sources of PM2.5.4 And there is no
  correlation between the highest PM2.5 readings recorded in Belle Glade each year and the sugarcane


  3
    Under the Clean Air Act, U.S. EPA set the 24-hour PM2.5 standard at a level that is protective of
  health, with a margin of safety, when calculated according to U.S. EPA’s methodology (i.e., 365
  days of daily readings using the 98th percentile value and then averaged over 3 consecutive years).
  42 U.S.C. § 7409; Murray Energy, 936 F.3d 597, 604-05. Plaintiffs’ allegations, based on their
  faulty models, of “daily exceedances” of the NAAQS at hypothetical receptor locations are
  therefore erroneous. If an area complies with the NAAQS, as all of Florida does, its air quality is
  protective of health with regard to PM2.5 and other regulated constituents.
  4
    There are numerous contributing sources to particulate matter in addition to agricultural burning,
  such as power plants, industrial facilities, construction sites, and automobiles. See, e.g.,
  http://www.epa.gov/pm-pollution/particulate-matter-pm-basics#PM. The TAC also fails to
  account for or model particulate matter from natural wildfires or governmental burning, which
  occur regularly. The Forest Service “oversees one of the most active prescribed fire programs in
  the country” and in an average year “will issue approximately 88,000 authorizations allowing
  landowners      and     agencies     to    prescribe     burn    over     2.1    million     acres.”
  https://www.fdacs.gov/Divisions-Offices/Florida-Forest-Service/Wildland-Fire/Prescribed-Fire.


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   burning season.5 Yet Plaintiffs’ “corrected” preliminary model predicts 24-hour PM2.5
   concentrations in Belle Glade from sugarcane burning alone as high as 66 μg/m3 (in 2016) (TAC
   ¶ 155 & Ex. B at ECF p. 8 of 84)—three times higher than the five highest daily concentrations
   (19.3 to 23.7 μg/m3) actually measured in Belle Glade that year from all sources. Ex. B.
          Current air data measurements are consistent with the 2014-18 data. Actual readings from
   the Belle Glade monitoring station show that in 2020 to date, the highest single-day 24-hour PM2.5
   concentration was 22.7 μg/m3. Ex. C (FDEP, 10 Highest Daily Averages for Year 2020, AQS #
   L099-0008, Belle Glade). That reading was taken in September 2020, outside sugarcane burning
   season. Id. Indeed, seven of the ten highest 24-hour PM2.5 concentrations measured in 2020
   occurred in June, July, and September, when there was no sugarcane burning. Id.6
          Plaintiffs’ modeling results are also inconsistent with actual daily PM2.5 readings from
   other FDEP monitoring stations bordering the putative class area. For example, data from Royal
   Palm Beach (Lamstein Lane)—which is outside the putative class area but within the “airshed”
   modeled by Plaintiffs—shows that the West Palm Beach area is uniformly below 35 μg/m3. Ex. E.
   The same holds true in every direction. Data from FDEP’s Stuart monitor (located northeast of
   Belle Glade), Winkler Pump Station monitor (located west of Belle Glade), Laurel Oak Elementary
   monitor (located southwest of Belle Glade), and Fort Lauderdale Near Road monitor (located
   southeast of Belle Glade) are all consistently below 35 μg/m3. Ex. F. While the air quality in all of
   these areas complies with the NAAQS, a comparison of the data shows that the air quality in Belle


   5
     Burn season, Plaintiffs allege, begins in October and runs through March or as late as May. TAC
   ¶ 2. The actual 24-hour PM2.5 concentrations recorded in Belle Glade were often highest in June,
   July, August, and September, outside of even the longest burn season alleged by Plaintiffs.
   6
     Plaintiffs’ only attempt to address the disparity between actual data and their hypothetical air
   modeling results is to summarily claim that the FDEP air quality monitoring station in Belle Glade
   has a “checkered operational past.” ECF 143 at 7. But that so-called “checkered operational past”
   involved a finding that the Belle Glade monitoring station was producing higher PM2.5 readings
   (by approximately 2.4 μg/m3, on average) than a monitor installed at the same location as a quality
   control check. See FDEP’s 2013 Annual Ambient Air Monitoring Network Plan at 33-37 (Ex. D).
   Thus, actual PM2.5 levels in Belle Glade are, if anything, even lower than the daily PM2.5
   measurements taken at the Belle Glade monitoring station—all of which are below 35 μg/m3 in
   the first place. And Plaintiffs cannot refute that FDEP still uses PM2.5 data from the Belle Glade
   monitoring station as part of the Air Quality Index. Id. at 34. Nor can Plaintiffs refute that their
   expert made no effort to compare their modeling results to the publicly available data collected at
   this monitoring station or any other FDEP/U.S. EPA approved monitoring station, or any actual
   data of their own, before filing a complaint that hinges on this modeling.


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   Glade is consistently comparable to or cleaner than the air in other areas.
           As U.S. EPA has explained, actual air quality data is “particularly useful in assessing the
   accuracy of model estimates.” 40 C.F.R. Part 51, App. W, § 1.0(b). Indeed, Plaintiffs’ engineer,
   Mr. Horsak, has acknowledged the importance of corroborating air modeling with actual data and
   has had opinions excluded where he failed to do so. See Coleman v. Union Carbide Corp., 2013
   WL 5461855, at *35 (S.D.W.V. Sept. 30, 2013) (“It is particularly surprising that Mr. Horsak
   never conducted any air sampling, despite noting that [sampling] should be pursued….”).
   Plaintiffs’ TAC, however, never even acknowledges, let alone attempts to account for, publicly-
   available air quality data. Nor did Plaintiffs perform any monitoring of their own. Even a cursory
   review of the data on FDEP’s website would have alerted Plaintiffs that air quality in Palm Beach
   County—including in the putative class area—complies with air quality standards.
   II.     Plaintiffs’ Modeling Has No Relevance to Visible Ash.
           Plaintiffs’ preliminary air modeling does not model or trace the dispersion of visible ash.
   To the contrary, the TAC alleges that Plaintiffs’ air modeling focused on tiny, invisible particulate
   matter and other constituents measuring only microns in diameter. TAC ¶ 148 (identifying
   pollutant categories included in Plaintiffs’ air model, including particulate matter less than 10
   microns (PM10), 2.5 microns (PM2.5), and 0.5 microns (PM0.5) in diameter); see id. ¶¶ 16, 139-140,
   158. A micron is one-millionth of a meter and one inch contains 25,400 microns. Thus, when
   Plaintiffs allege that ash ¼ to ½ of an inch thick fell on their properties (id. ¶ 25), they are
   addressing material that is approximately 6,350 to 12,700 microns thick—material much larger
   than the smaller, invisible particulate matter that they purported to model, and with entirely
   different properties. Plaintiffs’ preliminary air models—which are defective even as to modeled
   particulate matter—have no relevance whatsoever to visible ash.
                                               ARGUMENT
           To survive a motion to dismiss, “a complaint must contain sufficient factual matter,
   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.
   662, 678 (2009). “A claim has facial plausibility” only “when the plaintiff pleads factual content
   that allows the court to draw the reasonable inference that the defendant is liable for the misconduct
   alleged.” Id. Courts insist upon “‘specificity in pleading’ … to avoid the potentially enormous
   expense of discovery in cases with no ‘reasonably founded hope’” of success. Bell Atl. Corp. v.
   Twombly, 550 U.S. 544, 558-59 (2007). Plaintiffs’ TAC fails to satisfy this standard.



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   I.      Plaintiffs Have Not Cured The Article III Standing Deficiencies.
           Article III standing requires that a “plaintiff must have (1) suffered an injury in fact, (2) that
   is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed
   by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (citing
   Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)). The injury must be “concrete and
   particularized” and “‘actual or imminent, not ‘conjectural’ or ‘hypothetical.’’” Lujan, 504 U.S. at
   560-61. At the pleading stage, a “‘plaintiff must clearly allege facts demonstrating each element’”
   of Article III standing. Coffie, 460 F. Supp. 3d at 1304 (quoting Spokeo, 136 S. Ct. at 1547).
   Moreover, “‘standing is not dispensed in gross.’ To the contrary, ‘a plaintiff must demonstrate
   standing for each claim he seeks to press and for each form of relief sought.’” Town of Chester,
   N.Y. v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017) (internal citations omitted).
           While Plaintiffs need not prove proximate causation at this stage, as the Court ruled, they
   “must still show that the injuries they allege are fairly traceable to each Defendant.” Coffie, 460 F.
   Supp. 3d at 1305; see Spokeo, 136 S. Ct. at 1547 n.6; Shamblin v. Obama for Am., 2015 WL
   1754628, at *4 (M.D. Fla. Apr. 17, 2015) (“‘The plaintiff’s standing to bring an action against
   each defendant named in the complaint must be established independently of [Rule] 23.’”); Stewart
   v. Bureaus Inv. Grp. #1, LLC, 24 F. Supp. 3d 1142, 1154 (M.D. Ala. 2014) (“the class
   representative herself must have Article III standing to sue each named defendant”).
           Although the TAC repeatedly conflates them, Plaintiffs allege injuries from two distinct
   purported consequences of sugarcane burning: (i) visible ash that allegedly falls on properties and
   vehicles (which Plaintiffs tendentiously label “black snow”) (TAC ¶¶ 7, 25-27, 32-34, 38-40, 5-
   53, 61, 64-65, 68, 71 & Figs. 6, 12, 13, 21); and (ii) the emission of small, invisible particulate
   matter and other constituents attached thereto that allegedly cause respiratory issues and increase
   the risk of developing lung cancer. Id. ¶¶ 16, 18, 131, 134, 139. As shown below, the TAC does
   not even attempt to trace visible ash to each and every Defendant. And as to invisible particulate
   matter and other constituents, the TAC does not adequately allege a concrete and particularized
   injury (e.g., that injurious levels of particulate matter or other constituents actually exist), nor does
   it plausibly trace Plaintiffs’ alleged injuries to each Defendant.
           A.      Plaintiffs Have Not Plausibly Traced Visible Ash To Each Defendant.
           Critically, the TAC does nothing to plausibly trace visible ash allegedly on Plaintiffs’
   properties or vehicles to any Defendant, let alone all of them. The TAC largely rehashes the same



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   conclusory allegations from the FAC that Plaintiffs reside “in close proximity to many of
   Defendants’ sugarcane fields” (TAC ¶¶ 31, 37, 45, 50, 63, 67, 70) that the Court already found
   deficient. Coffie, 460 F. Supp. 3d at 1303-05. Even when the TAC alleges that a Plaintiff resides
   “immediately across the street” (TAC ¶ 57) or “blocks away” (id. ¶ 46) from “Defendants’
   sugarcane fields,” the TAC is conspicuously silent on which Defendants’ fields Plaintiffs are
   referencing. Nor does the TAC allege the wind direction on the days those fields were burned or
   exclude ash from natural wildfires or governmental burning, which occur regularly. See supra at
   4 n.4.
            The TAC includes maps showing the towns in the putative class area and the locations of
   historical burn events in “close proximity,” compiled from Forest Service permit data. TAC ¶ 138
   & Figs. 1-2, 22-27. Although the permit data reviewed by Plaintiffs would identify the applicant
   for each burn permit, the TAC is again conspicuously silent as to which Defendant (or other entity)
   farmed and conducted burns in close proximity to Plaintiffs and their properties. The TAC does
   not even attempt to trace anything to each Plaintiff from each Defendant. This is important because
   some Defendants burn more than others (e.g., TAC Fig. 33) and each Defendant’s farmland is
   concentrated in different parts of the putative class area.
            The TAC includes sample burn maps from the Forest Service depicting daily burns. TAC
   Figs. 7, 9, 10. Plaintiffs appear to allege that the maps depict the distance smoke—not visible ash—
   can travel, although Plaintiffs appear to suggest that ash can travel in the same direction. Id. ¶¶ 11,
   142. Regardless, the TAC makes no effort to connect burns plotted on the maps to particular
   Defendants or to particular Plaintiffs and their properties.
            The TAC also includes pictures of sugarcane burns. Like the visible ash allegations, the
   TAC does not attempt to attribute the pictures to any particular Defendant at any particular location
   in the putative class area. Indeed, at least one picture in the TAC was taken in Hawaii, not Florida.
   TAC Fig. 19. Other pictures show smoke from sugarcane burns rising up into the sky (as it is
   designed to do), not impacting adjacent properties. Id. Figs. 4, 5, 15, 18. Even a picture purporting
   to show a burn in close proximity to houses shows smoke rising straight up, away from the houses.
   Id. Fig. 20. Plaintiffs’ pictures do not make up for the TAC’s failure to trace cane ash to each
   Defendant. To the contrary, the pictures demonstrate that any smoke is localized, evanescent, and
   does not uniformly cover the putative class area.




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          B.      Plaintiffs Have Not Adequately Alleged The Actual Presence Of Injurious Or
                  Any Other Level Of Particulate Matter And Other Pollutants, Let Alone
                  Plausibly Traced Those Pollutants To Each Defendant.
          With respect to the emission of small, invisible particulate matter and other constituents,
   the TAC fails to adequately allege an injury that is “concrete and particularized,” not “‘conjectural’
   or ‘hypothetical.’’” Lujan, 504 U.S. at 560-61. The TAC also fails to plausibly trace Plaintiffs’
   alleged injuries from invisible constituents to each Defendant.
          Importantly, unlike most cases where plaintiffs file suit over alleged contamination,
   Plaintiffs offer no actual air monitoring or other data to show the existence of injurious (or any
   other) concentrations of particulate matter or other constituents. See, e.g., Adinolfe v. United Techs.
   Corp., 768 F.3d 1161, 1173 (11th Cir. 2014) (allowing toxic tort claims to survive dismissal where
   “plaintiffs alleged that they tested for and found contaminants [attributable to defendant] on at
   least some of [the] properties [at issue], and the plaintiffs’ hydrologists and toxicologists verified
   the presence of these chemicals in [the area] and the plaintiffs’ groundwater”).
          Instead, Plaintiffs rely entirely on “preliminary” hypothetical air modeling—both to
   establish injury and to trace that purported injury to each Defendant. TAC Ex. B. Although
   Plaintiffs have now reduced their model projections by a factor of 60, Plaintiffs continue to allege
   that Defendants emitted “spectacularly high” levels of PM2.5 from sugarcane burning. TAC ¶ 18.
   As shown above, however, Plaintiffs’ “spectacularly high” projections are flatly contradicted by—
   and do not even attempt to take into account—actual, publicly-available air quality data confirming
   that air quality in the putative class area meets air quality standards, including NAAQS. Thus, in
   contrast to Plaintiffs’ projected PM2.5 concentrations, actual readings from the FDEP monitoring
   station in Belle Glade show that even the highest 24-hour PM2.5 concentrations from 2014-18 from
   all sources (not just sugarcane burning) were all well below 35 µg/m3. Ex. B.
           The Court need not accept allegations in the TAC that are shown by publicly-available air
   quality data to be pure fiction. See, e.g., Campos, 32 F. Supp. 2d at 1343 (the court “need not
   accept factual claims” “which run counter to facts of which the court can take judicial notice”).
   Such allegations fail to “raise a right to relief above the speculative level.” Twombly, 550 U.S. at
   570. The Court can rely on its “judicial experience and common sense” to conclude that numbers
   that are derived from unexplained, black-box models and that are contradicted by government-
   collected, publicly-available measurements of which Plaintiffs take no account are not facts that
   must be accepted, but are simply implausible conclusions. Id.; Iqbal, 556 U.S. at 678-80; see First


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   Nationwide Bank v. Gelt Funding Corp., 27 F.3d 763, 772 (2d Cir. 1994) (affirming dismissal
   because plaintiffs’ “methodology … is so defective, and the conclusions reached so defy logic,
   that no ‘reasonable inferences’ can be drawn therefrom,” and finding that “[n]o amount of detail
   can save [plaintiffs’] complaint when the detail is based on flawed and unreasonable
   methodologies that lead to unsupported conclusions”).
          Even setting aside the conflict between Plaintiffs’ preliminary air models and publicly-
   available air quality data, Plaintiffs’ models are insufficient to establish standing. Although
   Plaintiffs allege that 16.3% of the hypothetical receptors across the putative class area experienced
   at least one daily PM2.5 “exceedance” above 35 μg/m3 over the course of five years (id. ¶¶ 14, 157
   & Fig. 37), the TAC makes no effort to tie those hypothetical receptors to the named Plaintiffs.
   Indeed, the TAC is devoid of any modeled projections specific to particular Plaintiffs or their
   residences. As a result, even if the Court were to accept Plaintiffs’ preliminary air modeling at face
   value, the TAC is insufficient to show that any Plaintiff experienced a concrete, particularized
   injury, let alone to trace that injury to each Defendant.
          Plaintiffs’ apparent claim that they can establish standing in the absence of NAAQS
   exceedances (TAC ¶ 14 n.10) fares no better. While regulatory thresholds are not necessarily
   dispositive under Florida tort law (Adinolfe, 768 F.3d at 1173-74), Plaintiffs still must allege that
   they were injured by the constituents at issue.7 The TAC fails to do so. For example, the TAC
   attempts to attribute projected 24-hour PM2.5 concentrations to particular Defendants at levels far
   below 35 μg/m3—even reaching as low as 0.01 to 0.02 μg/m3. TAC Ex. B at ECF pp. 8, 20, 32,
   44, 56, 68, 80 of 84. But the TAC does not allege that miniscule levels of PM2.5 cause injury. To
   be sure, the TAC alleges that the NAAQS PM2.5 24-hour standard of 35 μg/m3 should be lowered
   to between 30 and 25 μg/m3 (TAC ¶ 179), but the TAC does not provide any Plaintiff-specific
   projections alleging that Plaintiffs were exposed to PM2.5 levels above 25 μg/m3 as a result of
   Defendants’ sugarcane burning. The TAC also alleges (at ¶ 19) that a mere 1 μg/m3 increase in
   PM2.5 levels can increase the COVID-19 death rate, but the TAC does not allege that any of the
   Plaintiffs contracted COVID-19, let alone experienced complications due to PM2.5.8


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     In Adinolfe, 768 F.3d at 1170, for example, the plaintiffs alleged that the constituents at issue
   were genotoxic, “which means that they do not require any specific concentration … individually
   or in combination for them to cause clear cell renal carcinoma, a certain type of cancer.”
   8
     The TAC (at ¶¶ 19-20) also alleges that the CDC recommended a temporary ban on open burning
   to address COVID-related concerns, but the CDC recently confirmed that its recommendation


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          Because Plaintiffs have failed to allege facts sufficient to establish their standing, this Court
   lacks subject matter jurisdiction over their claims and should dismiss the TAC with prejudice.
   II.    Plaintiffs Fail To State A Plausible Claim Against Each Defendant.
          Plaintiffs have not stated plausible claims against each Defendant. Iqbal, 556 U.S. at 678-
   79; Twombly, 550 U.S. at 558-59. The TAC does not include factual allegations that would allow
   this Court to reasonably infer that Defendants are liable for Plaintiffs’ claimed injuries. Plaintiffs
   fail to link their allegations about visible ash in the TAC to any Defendant. And Plaintiffs’ claims
   about invisible particulate matter are based solely on hypothetical models that publicly-available
   data demonstrates are not plausible or even possible, and do not tie the modeled projections to
   particular Plaintiffs or their residences in any event
          The TAC includes numerous allegations concerning visible ash purportedly falling on
   Plaintiffs’ properties and vehicles (e.g., TAC ¶¶ 7, 25-27, 32-34, 38-40 & Figs. 6, 12, 13, 21), but
   the TAC makes no attempt to trace visible ash to particular Defendants. As discussed above,
   Plaintiffs cannot rely on their air modeling to trace their alleged injuries from visible ash to each
   Defendant because Plaintiffs’ model does not and cannot model the dispersion of visible ash.
          As to invisible particulate matter and other constituents, Plaintiffs’ modeling output is
   squarely at odds with real-world, publicly-available data collected by the regulatory agencies
   charged with protecting air quality. Indeed, while actual daily measurements from the putative
   class area show that even the highest single-day 24-hour PM2.5 concentrations were all well below
   35 µg/m3, Plaintiffs’ model projects “remarkable” and repeated exceedances of 35 µg/m3 at many
   of the modeled locations in the putative class area. TAC ¶¶ 12, 14, 153-157. This dramatic disparity
   between real-world data and Plaintiffs’ modeling effort is magnified by the fact that Plaintiffs’
   hypothetical values for PM2.5 are based on modeling for sugarcane burning only, while the actual
   measured concentrations include emissions from all potential sources.
          The government agencies tasked with monitoring, assessing, and ensuring air quality
   across the State have an extensive network of monitors and continually work to ensure compliance
   with standards set to protect human health. Plaintiffs have not explained how their modeled
   concentrations could be possible, much less plausible, when actual air quality data demonstrates



   applied only to “backyard burning,” not prescribed or controlled burns permitted by state agencies.
   CDC, Open Burning during the COVID-19 Pandemic (updated Nov. 13, 2020), available at
   http://www.cdc.gov/coronavirus/2019-ncov/php/openburning.html.


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   that the entire State is in full attainment with NAAQS, including the 24-hour PM2.5 standard that
   Plaintiffs’ model predicts is purportedly violated at hypothetical receptors throughout the putative
   class area “in many cases by a factor of several multiples.” TAC ¶¶ 153, 157. Contrary to Plaintiffs’
   allegations, FDEP confirms that “all areas in the State meet the air quality standards for [fine
   particulate matter] and levels continue to decrease as they have for many years.” Ex. A.
           While the TAC goes on at length with technical soundbites, Plaintiffs have failed to provide
   even the most basic information to flesh out the details of their model inputs. See e.g., 40 C.F.R.
   Part 51, App. W, § 8.0 (explaining that “[d]atabases and related procedures for estimating input
   parameters are an integral part of the modeling process” and that “[m]odeled concentrations can
   vary widely depending on the source data or meteorological data used”). Plaintiffs instead hide
   behind a lengthy printout of hypothetical results (TAC Ex. B)—results that Plaintiffs have already
   admitted were wrong once and had to be corrected. Plaintiffs’ allegations about air quality issues
   are not plausible because their models’ output still bears no resemblance to the real-world
   conditions documented by FDEP. These implausible allegations cannot support a claim for alleged
   injuries and damages. Iqbal, 556 U.S. at 678-79; Twombly, 550 U.S. at 558-59.
   III.    The TAC Fails To State A Takings/Section 1983 Claim.
           Count III raises a civil rights claim under 42 U.S.C. § 1983 for alleged takings without just
   compensation. Because Section 1983 is a remedy provision for an underlying civil rights violation,
   Plaintiffs pin their claim on a takings theory due to alleged migration of airborne particulate matter.
   This fails on two fronts. First, private parties are not state actors simply because they operated
   under government-issued permits. Second, even if Defendants were state actors, Plaintiffs fail to
   allege facts sufficient to state a takings claim. Moreover, Plaintiffs’ request for injunctive relief is
   barred by this Court’s prior ruling and U.S. Supreme Court precedent.
           A.      There Is No State Action To Support A Section 1983 Claim.
           Plaintiffs bring their takings claim pursuant to 42 U.S.C. § 1983, which prohibits “the
   deprivation of any rights, privileges, or immunities secured by the Constitution and laws” “under
   the color” of state law. To state their claim, therefore, Plaintiffs must allege facts sufficient to show
   that Defendants “‘may fairly be said to be … state actor[s].’” Patrick v. Floyd Med. Ctr., 201 F.3d
   1313, 1315 (11th Cir. 2000). The TAC alleges that Defendants became state actors by performing
   sugarcane burns under Forest Service permits and regulations. TAC ¶¶ 225-28, 230 (“Before
   Defendants may engage in pre-harvest burning, they must apply to the FFS and the FFS must grant



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   them a permit, authorizing the specific location, timing, and terms of the requested burn event….”).
   These allegations do not show that Defendants are state actors.
           The actions of private entities may constitute state action only in the narrow circumstance
   when the state “has exercised coercive power or has provided such significant encouragement,
   either overt or covert, that the choice must in law be deemed to be that of the State.” Blum v.
   Yaretsky, 457 U.S. 991, 1004 (1982). “Mere approval of or acquiescence in the initiatives of a
   private party is not sufficient.” Id. at 1004–05; see Jackson v. Metro. Edison Co., 419 U.S. 345,
   357 (1974) (the “exercise of the choice allowed by state law where the initiative comes from [the
   regulated entity] and not from the State, does not make [the regulated entity’s] action in doing so
   ‘state action’”); Flagg Bros., Inc. v. Brooks, 436 U.S. 149, 164 (1978) (a regulated entity’s action
   is state action only if it is “‘compelled’” or “‘order[ed]’” by the state).
           Plaintiffs have failed to allege any facts demonstrating a basis for finding state action.
   Instead, the takings claim rests on the allegations that Defendants perform sugarcane burns under
   Forest Service permits and regulations. This falls far short of the state action requirement. In
   opposing Defendants’ motion to dismiss the FAC, Plaintiffs even argued that sugarcane burning
   is not “endorsed” or “required” “by the State” and that the Forest Service instead “merely provides
   Defendants the opportunity to request authorization for a burn.” ECF 104 at 8. Plaintiffs’ own
   argument precludes any finding of state action on the facts alleged here.
           There are no allegations demonstrating that the burn permits at issue provide any special
   basis to convert regulated activity into state action for Section 1983 purposes. See Jackson, 419
   U.S. at 345 (affirming dismissal of Section 1983 claim against private but heavily regulated utility
   company). Indeed, numerous courts have rejected similar takings claims against private actors for
   the same reasons. See, e.g., Kerns v. Chesapeake Expl., LLC, 762 F.App’x 289, 294-95 (6th Cir.
   2019) (affirming dismissal of takings claim against private oil-drilling company); Moorer v. U.S.
   Bank N.A., 2018 WL 587319, at *6 (D. Conn. Jan. 29, 2018) (dismissing takings claim against
   bank and debt collectors); Gallagher v. Neil Young Freedom Concert, 49 F.3d 442, 1448-53 (10th
   Cir. 1995) (affirming dismissal of takings claim against concert promoter and security company
   for pat down searches at public university). Plaintiffs’ Section 1983 claim should be dismissed.
           B.      Plaintiffs Fail To State A Takings Claim.
           A takings claim provides a basis to seek compensation where property is affected by
   government regulations that limit the use of property or by a physical appropriation for



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   governmental purposes of a portion of the property. See, e.g., Penn Central Transp. Co. v. New
   York City, 438 U.S. 104, 123–25 (1978); Loretto v. Teleprompter Manhattan CATV Corp., 458
   U.S. 419, 426 (1982). Plaintiffs fail to allege either type of taking. Government regulations do not
   effect a taking every time they negatively impact property rights. Instead, courts “must remain
   cognizant that ‘government regulation—by definition—involves the adjustment of rights for the
   public good.’” Lingle v. Chevron U.S.A. Inc., 544 U.S. 528, 538 (2005).
          In determining whether government regulation effects a taking, courts look to whether a
   property owner has been deprived of all economically viable use or of a distinct investment-backed
   expectation. Lingle, 544 U.S. at 539; Penn Central, 438 U.S. at 123–125; Lucas v. S. Carolina
   Coastal Council, 505 U.S. 1003, 1019 (1992). Courts also look to whether there is a physical
   invasion, which means a physical appropriation for government use. See Lingle, 544 U.S. at 539;
   Lucas, 505 U.S. at 1015; Loretto, 458 U.S. at 426. No Plaintiff alleges a deprivation of “all
   economically beneficial or productive use of land.” Lucas, 505 U.S. at 1015. Here, Plaintiffs
   admittedly continue to use their properties for residential purposes.
          As to physical invasion, which the TAC raises in conclusory fashion (¶¶ 228-29), there is
   no showing that any portion of any property has been physically occupied, or that any owner has
   been denied use access or other incident of ownership. See Loretto, 458 U.S. at 435-46; Lingle,
   544 U.S. at 539 (“A permanent physical invasion ... eviscerates the owner’s right to exclude others
   from entering and using her property.”). The only allegation is that particulate matter migrates
   through the atmosphere over and onto Plaintiffs’ properties. That is true of all air emissions and
   does not convert every case of air emissions into an invasion of nearby property. Such a view
   would mean that every automobile, power plant, and industrial facility is constantly “invading”
   properties by emitting particulates or other air constituents—even where the area is in full
   attainment of air quality standards. The concept that particulate matter in the atmosphere “takes”
   everything it touches has no support in case law or common sense.
          C.      Plaintiffs Cannot Seek Injunctive Relief For Alleged Takings.
          The Court has already held that Plaintiffs’ claims for injunctive relief to stop future burning
   are barred by the primary jurisdiction doctrine (Coffie, 460 F. Supp. 3d at 1308-11), which applies
   equally here. Plaintiffs’ attempt to evade that ruling through a takings claim fails. First, the Court
   should reject Plaintiffs’ request for injunctive relief (TAC ¶ 233) because their takings claim fails
   as a matter of law, as shown above. Second, the requested injunction is improper anyway. As the



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   U.S. Supreme Court held just last year, “there is no basis to enjoin the government’s action
   effecting a taking” “[a]s long as an adequate provision for obtaining just compensation exists.”
   Knick v. Township of Scott, Pa., 139 S. Ct. 2162, 2176 (2019). Here, even if Plaintiffs could show
   that there was state action (and they cannot), they have not even tried to suggest that just
   compensation is unavailable, meaning that “injunctive relief will be foreclosed.” Id. at 2179.
   IV.    The TAC Fails To State A Battery Claim.
          In Count V, the TAC alleges a battery claim. Plaintiffs allege that sugarcane burning—an
   “acceptable agricultural practice” of the sort the RTFA is designed to protect (Coffie, 460 F. Supp.
   3d at 1307)—has resulted in “harmful and offensive contact” by allegedly exposing Plaintiffs to
   pollutants without their consent. TAC ¶ 248. Plaintiffs further allege that Defendants “knew or
   should have known” that burning would release pollutants and expose Plaintiffs. Id. ¶ 249.
   Plaintiffs’ battery claim fails to state a claim and should be dismissed.
          A.      The RTFA Bars Plaintiffs’ Battery Claim.
          The Court previously dismissed Plaintiffs’ nuisance and trespass claims under the RTFA.
   Coffie, 460 F. Supp. 3d at 1306-08. Although the RTFA on its face applies to nuisance claims, the
   Court also applied the RTFA to bar Plaintiffs’ trespass claim because it was little more than a
   “relabeled” nuisance claim. Id. at 1307. But the Court declined to apply the RTFA to Plaintiffs’
   claims for negligence, strict liability under Fla. Stat. § 376.313, and medical monitoring because
   they were “not based solely on the nuisance aspect of pre-harvest burning.” Id. at 1308.
          Plaintiffs’ battery claim is based on the alleged nuisance aspect of sugarcane burning and
   is just a variation of Plaintiffs’ nuisance and trespass claims. For battery, Plaintiffs allege that
   burning caused “harmful and offensive contact” and “exposure without consent.” TAC ¶ 248. For
   trespass, Plaintiffs had similarly alleged that burning caused pollutants to “enter and contaminate”
   their properties and constituted “an unpermitted intrusion.” FAC ¶¶ 159-60. The only difference
   is that Plaintiffs’ battery claim involves contact to persons while Plaintiffs’ trespass claim involved
   contact to property. See, e.g., Bishop v. Hybud Equip. Corp., 536 N.E.2d 694, 697 (Ohio Ct. App.
   1988) (at common law, “[t]respass was the remedy for all forcible, direct and immediate injuries,
   whether occasioned to person or property,” and “[t]he present-day intentional tort of battery
   evolved from the common-law trespass for battery”); Johnson v. Paynesville Farmers Union Co-
   op Oil Co., 817 N.W.2d 693, 701 n.7 (Minn. 2012) (explaining how the common law tort of
   trespass split into four types of wrongs, including trespass vi et armis or assault or battery).



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          Like their dismissed trespass claim, Plaintiffs’ battery claim has the characteristics of a
   nuisance: conduct that “either annoys, injures, or endangers the comfort, health, repose or safety
   of the citizen, or which unlawfully interferes with or tends to obstruct, or in any way renders unsafe
   and unsecure other persons in life or in the use of their property.” Prior v. White, 80 So. 347, 355
   (Fla. 1938). Plaintiffs should not be allowed to do an end-run around the RTFA by belatedly
   asserting a battery claim after the Court dismissed their nuisance and trespass claims.
          B.      Plaintiffs Do Not Allege The Requisite Intent To State A Claim For Battery.
          Under Florida law, “[t]o establish a battery, a plaintiff must suffer a harmful or offensive
   contact, and the tortfeasor must have intended to cause such contact.” Chorak v. Naughton, 409
   So. 2d 35, 39 (Fla. Dist. Ct. App. 1981); see Hoyte v. Stauffer Chem. Co., 2002 WL 31892830, at
   *52 (Fla. Cir. Ct. Nov. 2, 2002) (“‘a defendant must do a positive, affirmative act with the intent
   to cause an offensive contact with the plaintiff [and] the element of intent can only be established
   if the act is substantially certain to cause the offensive contact’”). The intent requirement is not
   satisfied where conduct merely “‘involves an unreasonable risk of inflicting’” offensive contact.
   City of Miami v. Sanders, 672 So. 2d 46, 47 (Fla. Ct. App. 1996).
          The TAC does not allege any facts to support a claim that each particular Defendant
   intended to batter Plaintiffs when they performed sugarcane burns—an “acceptable agricultural
   practice” (Coffie, 460 F. Supp. 3d at 1307)—under permits duly-issued by the Forest Service.
   Plaintiffs’ allegation that Defendants’ “knew or should have known” that burns would expose
   Plaintiffs to pollutants (TAC ¶ 249) is not enough. As discussed above, the TAC does not even
   allege that Plaintiffs lived in close proximity to burns performed by any particular Defendant. The
   TAC likewise does not allege any actual air monitoring data that could have somehow put
   Defendants on notice that their burning was emitting harmful levels of pollutants. To the contrary,
   the publicly-available air monitoring data for Belle Glade (and other areas) published by FDEP
   consistently showed that local ambient air concentrations were well within NAAQS.
          Accordingly, neither each Defendants’ subjective intent, nor “substantial certainty” that
   each Defendants’ conduct would cause an offensive touching, are plausibly alleged. The battery
   claim should be dismissed. See, e.g., Major v. Astrazeneca, Inc., 2006 WL 2640622, at *21
   (N.D.N.Y. Sept. 13, 2006) (dismissing battery claims and holding that even “[t]he intentional
   disposal of wastes on someone’s property is equivalent to an intentional physical contact with that
   person only if the disposer knows that the waste will contact that person”); In re Oil Spill by the



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   Oil Rig Deepwater Horizon, 2011 WL 4575696, at *11 (E.D. La. Oct. 4, 2011) (allegation that
   defendants deliberately sprayed chemicals “in the vicinity” of plaintiffs did not state battery claim).
   V.     The TAC Fails To State A Medical Monitoring Claim.
          The Court previously dismissed Plaintiffs’ medical monitoring claim because Plaintiffs had
   “merely pled a formulaic recitation of the elements.” Coffie, 460 F. Supp. 2d at 1313-14. Plaintiffs
   assert that the TAC contains additional “factual underpinnings” relevant to their medical
   monitoring claim. TAC at 1 n.1. These “factual underpinnings” hinge on Plaintiffs’ preliminary
   air models—models Plaintiffs concede were designed using erroneous inputs. ECF 143 at 1.
   Undeterred, Plaintiffs now allege that they were exposed to “significant levels of confirmed
   carcinogenic pollutants,” that Defendants’ sugarcane burning has purportedly led to exposure of
   some residents to “PM2.5 well in excess of the NAAQS,” “increased levels of PM2.5, as well as to
   numerous other known or suspected carcinogens” and that the Medical Monitoring Class is “at a
   significantly increased risk of developing lung cancer.” TAC ¶¶ 235, 239.
          To state a medical monitoring claim, Plaintiffs must adequately allege, among other things,
   that they were “expose[d] to greater than normal background levels” to a proven hazardous
   substance caused by a defendant’s negligence. Petito v. A.H. Robins Co., Inc., 750 So. 2d 103,
   106-07 (Fla. 3d DCA 1999). Plaintiffs have not done so. As explained above, the preliminary
   modeling underlying Plaintiffs’ allegations of “exposure greater than normal background levels”
   is flatly inconsistent with real-world data. The Court “need not accept factual claims” “which run
   counter to facts of which the court can take judicial notice.” Campos, 32 F. Supp. 2d at 1343.
   Plaintiffs have failed to demonstrate that any Defendant’s agricultural practices are the cause of a
   significant increase in pollutant concentrations (i.e., above general background) or in violation of
   any air quality standards set by FDEP or U.S. EPA—nor could they. See Jacobs v. Osmose, Inc.,
   2002 WL 34241682 (S.D. Fla. Jan. 3, 2002). Plaintiffs also do not and cannot allege that it is
   Defendants’ conduct that caused a greater than normal background level because there are many
   other sources of fires and other emissions that contribute to background levels. Petito, 750 So. 2d
   at 106-07. The Court should dismiss Plaintiffs’ claims for medical monitoring.
                                             CONCLUSION
          For the foregoing reasons, the Third Amended Complaint should be dismissed with
   prejudice.




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   Dated: November 25, 2020            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 25th day of November, 2020, I filed the foregoing through the

   Court’s CM/ECF system, which sent notification to all counsel of record.

                                                       /s/ Gregor J. Schwinghammer, Jr.




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